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            TO THE CUSTODIAL AUTHORITY at the FAULKNER COUNTY DENTENTION CENTER
.           and
            TO THE UNITED STATES MARSHAL FOR THE EASTERN DISTRICT OF ARKANSAS:

            GREETINGS:

                           We command that you surrender the body of ANDREW SCHERELL Booking# 53351030
            detained in the FAULKNER COUNTY DENTENTION CENTER, CONWAY, ARKANSAS in
            your custody, under safe and secure conduct, to the custody of the United States Marshal for the
            Eastern District of Arkansas, and the said Marshal is directed to produce the body of the Defendant
            before this Court on March 22, 2018 at 2:00 P.M., before the U.S. Magistrate Judge Patricia Harris,
            and after the proceedings have been concluded, that you return ANDREW SCHERELL to
            FAULKNER COUNTY DENTENTION CENTER under safe and secure conduct.
                           IN WITNESS WHEREOF, I have set my hand and the seal of said court, this 9 March
            2018.




             A TRUE COPY I CERTfFY
       JA~1ES W. McCOR~UCK, CLERK
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